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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA

             Plaintiff,
                                                Case No. 10-CR-20162-3
vs.
                                                HON. ROBERT H. CLELAND
BARRON DION HILL,

             Defendant.
                                         /

                     ORDER GRANTING MOTION TO WITHDRAW
                      AND DETERMINING EXCLUDABLE DELAY

      This matter comes before the court on Jonathan Epstein’s Motion to Withdraw

filed on August 17, 2010. A hearing was held on August 26, 2010 and for the reasons

stated on the record by counsel and this court, the Court will grant the motion. Therefore,



      IT IS ORDERED that the Motion to Withdraw is GRANTED. The Federal

Defender’s Office is directed to appoint new counsel. Upon the filing of an appearance

by the new attorney, this court will schedule a status conference with counsel and issue

a scheduling order setting new dates.

      IT IS FURTHER ORDERED that the time period from August 26, 2010 to

September 26, 2010 shall be excludable from time calculation mandated by the Speedy

Trial Act, 18 U.S.C. § 3161(H)(7)(A)(B) and 18 U.S.C. § 3161(H)(7)(B)(iv), and that the

ends of justice served by this delay outweigh the public’s and the defendant’s interest in
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a speedy trial.



                                         S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE


Dated: September 3, 2010


I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, September 3, 2010, by electronic and/or ordinary mail.


                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
